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                                          January 26, 2021




 Honorable Judge Anne Y. Shields, U.S.M.J.
 United States District Court: Eastern District
 100 Federal Plaza
 P.O. Box 830
 Central Islip, New York 11722
 Courtroom 830

                                                  Re:   Lepper v. Village of Babylon, et al.
                                                        Case No.: 2:18-CV-07011
                                                        Our File No.: PDG/EPT 148530-752

 Dear Honorable Judge Shields:

        The parties met and conferred at 2:00 p.m. on January 26, 2021 to discuss a joint letter
 proposed by me in response to your Honor’s directive of January 19, 2021. After the conference
 between counsel, I formulated a joint letter based on the parties’ understanding, but Mr. Morris
 responded by changing the terms. As such, the parties cannot agree on a joint letter to this
 Honorable Court.

         Plaintiffs are not retaining an expert, but have named James Brown, P.E. as a fact
 witness. Plaintiffs contend that Dr. Brown examined the tree house. Dr. Brown’s letter concerning
 the structural safety of the treehouse was filed on March 3, 2019 (Electronic Docket #36) relative
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 to an agreement reached before Judge Bianco to stay enforcement of the Village Code and stay
 use of the tree house by Plaintiffs.

         Defendants retained an expert Joseph Danatzko, P.E. The expert exchange has been made
 and filed with this Honorable Court on January 5, 2021 (Electronic Docket #94). Attached as
 Exhibit “A” is curriculum vitae of Mr. Danatzko, which was submitted in our expert exchange.

         We reserve the right to object to testimony of Dr. Brown as a fact witness. It is unclear
 how Plaintiffs intend to call Dr. Brown as a fact witness when he was only called upon to render
 an opinion as to the alleged safety of the tree house. Since Dr. Brown was chosen to render an
 opinion as the safety of the tree house initially, defendants expected that Plaintiffs would produce
 him as an expert witness and provide an expert exchange. Plaintiffs provided no expert exchange.
 Only recently in a meet and confer of December 15, 2020 in discussing the experts did Plaintiffs’
 counsel advise that Dr. Brown would not be used as an expert and that Plaintiffs would not use an
 expert.

         Plaintiffs are not taking the deposition of Mr. Danatzko. In our conference, we agreed that
 the deposition of Dr. Brown would take place by March 1, 2021. However, Plaintiffs’ counsel
 now advised after the meet and confer that Plaintiffs object to Dr. Brown’s deposition. We submit
 that we are entitled to question Dr. Brown as to his letter and his findings and respectfully submit
 that the Defendants should be permitted to take his deposition. We should be given leave to
 question Dr. Brown as to his observations of the tree house and any measurements or tests he
 conducted as well as any other relevant information he has concerning this matter.

          Thank you for your good consideration of this matter.


                                                              Respectfully submitted,


                                                              KELLY, RODE & KELLY, LLP


                                                      BY: _        Eric P. Tosca________
                                                                   Eric P. Tosca
 EPT:jl
 Enc.

 cc:      LAW OFFICES OF CORY H. MORRIS
          Attorneys for Plaintiffs
          33 Walt Whitman Road
          Suite 310
          Dix Hills, New York 11746
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                   EXHIBIT “A”
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                AFFILIATED ENGINEERING LABORATORIES, INC.
                                       Engineering Consultants

                                         777 New Durham Road
                                           Edison, NJ 08817
 Phone: (732) 429-1200                                                         Fax: (732) 429-1201




Resume:                             JOSEPH M. DANATZKO


Education:               Bachelor of Science — Civil Engineering
                         Lafayette College, Easton, PA, 2007

                         Master of Science — Civil"Structural Engineering
                         The Ohio State University, Columbus, OH, 2010

Professional:            Professional Engineer — New Jersey License No. 24GE04963800
                         Professional Engineer New York License No. 092836
                         Professional Engineer Pennsylvania License No. PE081326
                         Professional Engineer — North Carolina Certificate No. 047419
                         Building Inspector — New Jersey License No. 010903
                            Residential and Small Commercial Specialist
                            Industrial and Commercial Specialist
                            Mechanical Inspector 1 and 2 Family
                         Residential and Commercial Building/Mechanical Inspector
                            Commonwealth of Pennsylvania Certification No. 05933
                         ICC Certified Residential Building Inspector
                         ICC Certified Residential Mechanical Inspector
                         ICC Certified Commercial Building Inspector
                         ICC Certified Commercial Mechanical Inspector
                         Member — American Society of Civil Engineers (ASCE)
                         Member — American Society of Civil Engineers (ASCE) — Structural
                            Engineering Institute (SEI)
                         Member — Snow and Ice Management Association (SIMA)

Continuing
Education:               Structural Forensic Engineering
                         Underpinning and Strengthening of Foundations
                         Machine Foundations
                         Analysis and Design of Liquid Structures
                         Evaluation of Reinforced Concrete Structures
                         Epoxy Grouts in Industrial Environments
                         High Strength Concrete and Steel Reinforcement
                         Shear Wall Systems
                         Portland Limestone Cements
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 JOSEPH M. DANATZKO
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                  Blast Testing for Structural Performance
                   Wooden Truss Design
                  Residential Decks/Balconies/Roofs
                  Residential Hurricane Tie Systems
                  Occupational Safety & Health Administration (OSHA) Courses:
                      OSHA 510: Occupational Safety & Health for the
                        Construction Industry
                     OSHA 7505: Accident Investigations
                     OSHA 30-hr Construction Outreach Training
                     OSHA 2055: Cranes in Construction
                     OSHA 2264: Permit-Required Confined Space Entry
                     OSHA 3015: Excavation, Trenching and Soil Mechanics
                     OSHA 3115: Fall Protection
                     OSHA 7500: Introduction to Safety & Health Management
                     OSHA: Expectations and Accountability for Managing Fall Hazards
                        in Multiple Employer Construction Sites
                  ASTM Workshop on Multifactorial Analysis of Slip and Fall Events
                  Various Continuing Education Courses in building code implementation,
                  construction safety and environmental hazards

Professional
Experience:       Pennsylvania Department of Transportation, Allentown, PA
                  Civil Engineering Intern

                  Assistant to Pennsylvania D.O.T. Project Supervisor on roadway repaving
                  projects with responsibilities including: project inspector; budget
                  management and project tracking; field inspections of paving/resurfacing
                  projects and adjacent structures; record keeping; monitoring of contractor
                  procedures for compliance with contract requirements; safety inspections.

                 Perini Corporation- Civil Division, Newark, NJ
                 Civil Engineering Intern

                 Assistant to Project Manager and Construction Manager on a bridge deck
                 reconstruction project with responsibilities including: field inspections of
                 structural members and installation; supervision of construction work;
                 safety inspections; review of shop drawings and as-built calculations;
                 technical project submissions.

                 Bohler Engineering, Warren, NJ
                 Design Engineering Intern

                 Design Engineer supporting Project Manager for commercial and
                 residential subdivision site design with responsibilities including: site
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                  inspections including evaluation of adjacent structures; production of
                  conceptual designs and site plan drawings; design of parking areas, drive
                  aisles and walkways; stormwater management and runoff calculations; site
                  grading plans; design of retention, detention and underground stormwater
                  management systems; sizing of piping and outlet structures; design of
                  on-site utilities and lighting; review of township and state codes.

                  Washington Group International, Princeton, NJ
                  Engineer I - Nuclear Division Structural Group

                  Design Engineer for nuclear power plant upgrades,Inodifications with
                  responsibilities including: structural design and analysis including affects
                  from adjacent construction; field inspections of structural systems and
                  constructability reviews; design of concrete and steel structures; analysis
                  of existing steel and concrete structures; development and review of
                  construction drawings; analysis of structural elements through calculations
                  and computer-aided-design (CAD); production and review of detailed
                  engineering calculations; development of calculation standards and
                  training of employees regarding American Institute of Steel Construction
                  (AISC) specifications.

                  CDI Corporation, Princeton, NJ
                  Structural Engineer

                  Consulting Engineer for an upgrade project at a Florida Power and Light
                  facility involving trolley cranes. Responsibilities included: design,
                  analysis and qualification of new, modified and existing concrete and steel
                  structures; assessment and evaluation of adjacent structures relative to
                  proposed construction; development and review of construction drawings;
                  detailed design of steel and concrete connections; review of steel and
                  concrete calculations; AISC and ACI code compliance; inspections and
                  constructability reviews; ensuring conformance with Independent Spent
                  Fuel Storage Installation (ISFSI) requirements per NRC guidelines.

                  Inglese Architecture and Engineer, East Rutherford, NJ
                  Project Drafter/Structural Engineer

                 Project Drafter/Structural Engineer supporting one-, two and multi-family
                 residential construction projects including commercial structures and
                 mixed-use residentialicommercial with responsibilities including: site
                 inspections including field constructability reviews and assessment of
                 exiting structures; structural investigations involving building
                 rehabilitation and demolition; generation of construction drawing packages
                 for construction, planning board submission and bid; conceptual building
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                  design; generation and revision of detail drawings; design of stormwater
                  management systems, including retention and detention basins; design of
                  stormwater outlet structures; design and specification of structural
                  members and materials; design and analysis of steel, concrete and timber
                  structures; design of parking structures and on-site parking; design of
                  driveways, drive aisles and walkways; design and specification of
                  structural shear-wall systems; design and evaluation of retaining wall
                  systems; design and revision of heating, ventilation and air-conditioning
                  (HVAC) systems, plumbing systems, electrical systems, lighting plans,
                  drainage systems and grading; analysis of designs for United State Green
                  Building Council LEED rating.

                  The Ohio State University, Columbus, OH
                  Graduate Research Assistant/Student Project Team Advisor

                  Conducted research in the field of Sustainable Structural Design and
                  Engineering; performed research related to prestressed and precast
                  concrete design; research into asphalt pavement designs, the impact of
                  structural vibrations of structural elements and progressive structural
                  collapse; served as advisor and mentor to Student Project Teams.

                  The Spear Group, Norcross, GA
                  Consulting Civil/Design Engineer

                  Consultant under contract to Public Service Electric & Gas and
                  Consolidated Edison, Inc.

                  Public Service Electric & Gas, Newark, NJ

                 Responsibilities included: site inspections involving constructability
                 reviews and assessment of adjacent structures; field assessment related to
                 emergency investigations and storm damage response; conceptual designs;
                 field engineering; design of concrete foundations, piling and steel
                 structures for electrical equipment; design and analysis of A-frames
                 associated with electrical equipment; design and review of submittal
                 packages for new and existing structures; generation of structural details
                 and drawings; development of design aids and programs; design of
                 drainage systems and grading; design and review related to spill
                 prevention countermeasure and containment plans.

                 Consolidated Edison, Inc., New York, NY

                 Responsibilities included: site inspections involving constructability
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                  reviews and assessment of adjacent structures; field assessment related to
                  emergency investigations and storm damage response; development of
                  spill prevention countermeasures and containment in new designs and
                  plans; transformer replacements and upgrades throughout the New York
                  metropolitan area, review of in-house and vendor submittal packages.

                  Affiliated Engineering Laboratories, Inc., Edison, NJ
                  Engineering Consultant

                  Forensic engineering investigation and evaluation of design and
                  construction elements related to civil, structural and safety engineering,
                  including: walkways, stairways, roadways, site improvements and
                  building construction. Engineering and safety analyses related to building
                  code compliance and accident evaluation cause and origin analysis.
